            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,

     v.                               Case No. 18-00293-01/25-CR-W-DGK

(01) GERALD L. GINNINGS,
[DOB: 01/02/1980],

(02) TREVOR SCOTT SPARKS,
[DOB: 02/09/1989],

(03) MARKUS MICHAEL A. PATTERSON,
[DOB: 12/12/1982],

(04) GLORIA MAY JONES,
[DOB: 8/31/1989],

(05) VICENTE ARAUJO,
[DOB: 9/20/1996],

(06) LESLIE LADON WALKER,
[DOB: 7/2/1987],

(07) DAVID ROBERT RICHARDS II,
[DOB: 10/19/1987],

(08) CHRISTIAN DOUGLAS HANSEN,
[DOB: 04/14/1979],

(09) STEPHANIE THURMOND,
[DOB: 11/2/1990],

(10) LEEANNA MICHELLE SCHROEDER,
[DOB: 6/4/1993],

(11) ADAM JOSEPH MAINIERI,
[DOB: 3/1/1988],




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(12) PAUL J. KIBODEAUX,
[DOB: 4/22/1983],

(13) KOURTNEY JAYNE MEYERS,
[DOB: 01/16/1989],

(14) CORY TAZ-DALTON HACK,
[DOB: 06/26/1995],

(15) RORY DALE BECHTEL,
[DOB: 04/14/1983],

(16) PHILLIP TRA JOSEPH HOYT,
[DOB: 08/12/1976],

(17) BOBBIE LYNN KING,
[DOB: 07/05/1969],

(18) LOGAN TANNER LAWS,
[DOB: 10/09/1991],

(19) KENNETH JAMES MCCLURE,
[DOB: 02/09/1979],

(20) MARION DOUGLAS MCCROREY JR.,
[DOB: 10/05/1979],

(21) PATRICIA GAIL NELSON, AKA
MCCOLLUM, AKA “MAMA PAT,”
[DOB: 06/21/1960],

(22) CHRISTAPHER DEAN PARTON,
[DOB: 04/25/1989],

(23) CHRISTOPHER BRIAN ROGAN,
[DOB: 01/21/1976],

(24) AMANDA LEIGH WATSON,
[DOB: 05/09/1987],

(25) MICHAEL GLEN ZIEGER, AKA
ZIEGLER, AKA “LEE SUMMIT MIKE,”
[DOB: 08/25/1976],
                      Defendants.




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                        MOTION OF THE UNITED STATES FOR
                      CONTINUANCE OF A DETENTION HEARING

       Comes now the United States of America, by the United States Attorney for the Western

District of Missouri, and does hereby move the Court for its order granting a continuance of the

detention hearing as provided by Section 3142(f), Title 18, United States Code.

                               SUPPORTING SUGGESTIONS

       Title 18, United States Code, Section 3142(f) provides that the appropriate judicial officer

shall hold a hearing to determine whether any condition or combination of conditions set forth in

Section 3142(c) will reasonably assure the appearance of a defendant as required and the safety of

any other person and the community when the attorney for the government moves for a detention

hearing provided by said subsection, or upon the appropriate judicial officer's own motion, also as

provided by Section 3142(f).

       Subsection (f) of Section 3142 provides: “The hearing shall be held immediately upon the

person’s first appearance before the judicial officer unless that person, or the attorney for the

government seeks a continuance. Except for good cause, a continuance on motion of the person

may not exceed five days, and a continuance on motion of the attorney for the government may

not exceed three days. During a continuance, the person shall be detained . . . .”

       The United States desires the continuance to facilitate the acquisition of additional

information regarding the above defendants, to evaluate the said information, and to prepare for

the hearing.

                                                      Respectfully submitted,

                                                      Timothy A. Garrison
                                                      United States Attorney

                                             By       /s/ Bruce Rhoades



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                                                  Bruce Rhoades
                                                  Assistant United States Attorney
                                                  Violent Crimes & Drug Trafficking Unit

                                                  Charles Evans Whittaker Courthouse
                                                  400 East Ninth Street, Suite 5510
                                                  Kansas City, Missouri 64106
                                                  Telephone: (816) 426-3122


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on July 27,
2020, to the Electronic Filing System (CM/ECF) of the United States District Court for the
Western District of Missouri for electronic delivery to all counsel of record.


                                                  /s/ Bruce Rhoades
                                                  Bruce Rhoades
                                                  Assistant United States Attorney




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